Case 2:91-cv-00589-CJC Document 663-1 Filed 08/30/19 Page 10f12 Page ID #:517

1 | XAVIER BECERRA

4 || Attorney General of California
SPARSH KHANDESHI
sparsh.khandeshi@doj.ca.gov
CA Bar No. 266297

 

4

Deputy Attorney General
5 | 600 W. Broadway, Suite 1800
6 | San Diego, CA 92101
7 Tel: (619) 738-9061
g | WILLIAM A. WEINISCHKE
9 Bill.weinischke@usdoj.gov

 

MS Bar No. 7082

19 | Senior Attorney

Environmental Enforcement Section
Environment and Natural Resources Division
12 | United States Department of Justice

4 Constitution Square

13 | 150 M Street, N.W., Suite 2.900

14 | Washington, D.C. 20002

Tel: (202) 514-4592

i]

15

16 Attorneys for Plaintiffs State of California and United States of America

i UNITED STATES DISTRICT COURT

18 CENTRAL DISTRICT OF CALIFORNIA

19 | UNITED STATES OF AMERICA, et al.,_)

20 ) CASE NO. 91-00589 (CIC)

Plaintiffs, J

71 v. ) MEMORANDUM IN SUPPORT OF

22 ) MOTION TO LIFT STAY

33 SHELL OIL COMPANY, et al., 5

24° Defendants. )
) Date: — TBD ©

25 ) Time: 1:30 P.M.

26 ) Courtroom: 7C, First Street Court
) House

a7 ) Judge: Cormac J. Carney

28

 

1

 

 

Memorandum in Support of Motion to Lift Stay (CV 91-00589 (CJC))

 
Case 2:91-cv-00589-CJC Document 663-1 Filed 08/30/19 Page 20f12 Page ID #:518

i]

CO oOo YI A UW B&B w

10
1]
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

INTRODUCTION

The Plaintiffs (United States and State of California) submit this
memorandum in support of their Motion to Lift the Stay that has been in place since
2007. The Stay has blocked the Plaintiffs from recovering response costs they
incurred to respond to environmental threats in connection with the McColl
Superfund Site in Fullerton, California from essentially 1990 to present. Those
costs are recoverable pursuant to the Comprehensive Environmental Response,
Compensation, and Liability Act (“CERCLA”), 42 U.S.C. §§ 9607.

The Plaintiffs’ response cost claims were stayed by this Court in 2007
pending a resolution of Defendants Shell Oil Company, Union Oil Company of
California, Atlantic Richfield Company, and Texaco, Inc.’s breach of contract
claims against the United States filed in the Court of Federal Claims. The contract
case was finally concluded in 2018. Accordingly, as the Parties agreed, (1) the
issue of the stay is now moot; and (2) the only claims remaining in this case are the
Plaintiffs’ cost recovery claims. See Docket No. 644, at 4.

Nevertheless, during the August 5, 2019 status conference, the Defendants
urged the Court to maintain the Stay, suggesting that their yet-to-be-filed contract
claims will moot the Plaintiffs’ CERCLA cost recovery claims — essentially the
same argument the Defendants made in 2007. See Docket No. 571, at 10 (asserting
“there would be no need for any judicial action on the United States’ claims...
[and] there will be no need for Defendants to challenge the State’s costs in this
Court,” if they prevailed on their contract claims in the Court of Federal Claims).
These assertions are baseless. As has proven true for the Defendants’ original
contract claims, waiting for an additional round of litigation in the Court of Federal
Claims will not resolve the Plaintiffs’ cost recovery claims in the Central District of
California. The argument below explains why the Court should lift the stay and

allow the Governments’ cost recovery claims to proceed.

2

 

 

Memorandum in Support of Motion to Lift Stay (CV 91-00589 (CIC))

 
Case 2:91-cv-00589-CJC Document 663-1 Filed 08/30/19 Page 30f12 Page ID #:519

to

fe Ww

DoD wo NY A w

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

ARGUMENT
A. The Stay Was Improperly Granted in the First Instance.
1. CERCLA Allows the Governments to Recover Their Cleanup Costs
Before Resolving Any Counterclaims,
CERCLA was enacted “to initiate and establish a comprehensive response

and financing mechanism to abate and control the vast problems associated with

’ abandoned and inactive hazardous waste disposal sites.” U.S. v. R.W. Meyer, Inc.,

889 F. 2d 1497, 1498 (6 Cir, 1989). The Plaintiffs began the process of selecting
and implementing a cleanup plan for the McColl Site under CERCLA in 1982. In
1991, the Plaintiffs filed suit to establish the Defendants as liable parties and to
recover response costs. In 1993, this Court granted the Plaintiffs’ Motion for
Summary Judgment with respect to liability, holding that the Defendants are jointly
and severally liable for the contamination at the Site and the Plaintiffs’ response
costs. U.S. v. Shell Oil Company, 841 F. Supp. 962 (C.D, Cal. 1993).
Simultaneously, the Court granted the Plaintiffs’ motion to bifurcate the

 

Defendants’ counterclaims and proceed on the Governments’ cost recovery claims.
Id, at 975. The Court explained that “CERCLA clearly provides that cost recovery
can be sought before any counterclaims and cross-claims are resolved.” Id. (citing
132 Cong. Rec. $14,908 (daily ed. Oct. 3, 1986) (“The government should obtain
the full costs of cleanup from those it targets for enforcement, and leave remaining
costs to be recovered in private contribution actions.”)).

Considering the equities, the Court reasoned that preventing the
Governments’ “expeditious recovery of response costs . . . would inappropriately
prejudice the public welfare by slowing replenishment of the Superfund.” Id.
(emphasis added). On the flip side, the Defendants would not be unduly prejudiced
because “they will bé reimbursed in the future for any costs . . - that are properly

attributable to other parties.” Id. The law of this case has not changed and the

3

 

 

Memorandum in Support of Motion to Lift Stay (CV 91-00589 (CJC))

 
Case 2:91-cv-00589-CJC Document 663-1 Filed 08/30/19 Page 4o0f12 Page ID #:520

 

_ equities still favor allowing the Plaintiffs to pursue their case to recover their

response costs.
2. Nothing in the 1994 Consent Decree Prevents the Plaintiffs from
Proceeding With Their Cost Recovery Claims.

At the August 5, 2019 status conference, the Defendants contended that the
1994 Partial Consent Decree negated this Court’s 1993 ruling. Defendants are
wrong. The Parties entered into a Partial Consent Decree in 1994 that required the
Defendants to pay the Plaintiffs $18 million in past response costs incurred in
connection with the site and allowed to the Defendants to pursue their
counterclaims. See Docket No. 270. The 1994 Partial Consent Decree did not
prohibit the Plaintiffs from pursuing their claims for costs. It expressly provided
that the Plaintiffs could proceed with their cost claims “simultaneously with the
counterclaims.” Id. 19. When the Court entered the partial Consent Decree on
December 12, 1994, it reaffirmed that its judgment of September 28, 1993,
constitutes a declaratory judgment for “Ongoing Response Costs.” See id. ¢ 10.

Furthermore, paragraphs 12 and 19 of the 1994 partial Consent Decree
explicitly recognize the Plaintiffs’ rights to recover their response costs in this
action, regardless of any claims the Defendants may be pursuing in another action.
Paragraph 12 of the 1994 Consent Decree provides: “The United States and State
reserve, and this Consent Decree is without prejudice to, all rights against Settling
Defendants with respect to all other matters, including, but not limited to...
liability for Ongoing Response Costs.” Id. J 12. “Ongoing Response Costs” is a
defined term in the 1994 partial Consent Decree and.it includes all costs, including

interest, incurred by the Plaintiffs not covered by the 1994 Consent Decree.

(1d4.93-£

Paragraph 19 of the 1994 Consent Decree provides: “Settling Defendants

likewise agree that they will not seek to stay or otherwise delay the supplemental

4
Memorandum in Support of Motion to Lift Stay (CV 91-00589 (CIC))

 
Case 2:91-cv-00589-CJC Document 663-1 Filed 08/30/19 Page5of12 Page ID#:521

response cost claim and further agree that the supplemental response cost claim
may proceed simultaneously with the counterclaims.” Id. | 19 (emphasis added).
Defendants reneged on that agreement, and the Court, we submit, erred in allowing
the delay by granting the stay.
Defendants rely on Paragraph 14 of the 1994 Consent Decree to support their
argument that the 1994 Consent Decree negated the Court’s 1993 published
decision.! Defendants’ reliance is misplaced. Paragraph 14 of the 1994 Consent
Decree provides:
No final judgment has been entered in this action
from which an appeal as of right may be taken and,
by agreement of the parties, no such final judgment
shall be entered against Settling Defendants prior to
the entry of judgment in the counterclaims asserted
by these defendants in this action.

Docket No. 270 { 14 (emphasis added).

First of all, there are no counterclaims “in this action.” This Court entered a
final judgment on the Defendants’ CERCLA counterclaims against the United
States for arranger liability on October 13, 1999. See Docket No. 489, at 5.2 As for
the Defendants’ contract-based counterclaims, this Court lacked jurisdiction and
transferred them to the Court of Federal Claims. See Docket No. 529 ¥ 1. In that

same order, this Court stated that “All remaining counterclaims filed by the Oil

 

! Defendants originally made this argument in their Opposition to Plaintiffs’ 2006
Motions for Summary Judgment, see Docket No. 571 at 8-9, and raised it again
during the August 5, 2019 Status Conference.

2 Ultimately, the decision on these counterclaims was reversed by the Ninth Circuit,
holding the United States was not an arranger and has no liability under CERCLA
for cleanup costs of non-benzol wastes. United States v. Shell Oil Company, et al.,
294 F.3d 1045, 1048-1049, 1059 (9th Cir. 2002).

5

 

 

Memorandum in Support of Motion to Lift Stay (CV 91-00589 (CJC)

 
Case 2:91-cv-00589-CJC Document 663-1 Filed 08/30/19 Page 6of12 Page ID #:522

 

Companies against the United States not heretofore disposed of are dismissed.”

Id. {2. Accordingly, even if Paragraph 14 of the Consent Decree were incorrectly

interpreted to set preconditions on when the Plaintiffs could seek recovery of their
response costs, the 1999 Final Judgment and 2005 Amended Transfer Order make

clear those conditions are currently satisfied by the entry of judgment dismissing

Defendants’ counterclaims.

Furthermore, in the above-referenced Stipulated Final Judgment Pursuant to
Rule 54(b) FRCP, the Defendants agreed that “Plaintiffs [the United States and the
State] retain all their rights to pursue their claims for response costs to judgment in
this Court ....” See Docket No. 489, at 4. Therefore, the Stipulated Final
Judgment'not only constituted a final judgment in this action on the Defendants’
counterclaims, it expressly recognized the Plaintiffs’ right to pursue their cost
recovery claims in this Court. Thus, even if there were any ambiguity arising from

the 1994 Consent Decree, it was most certainly clarified by the Stipulated Final

Judgment entered by this Court five years later.

Finally, contrary to Defendants’ assertion, their yet-to-be filed contract
claims against the United States are not counterclaims in this action. Defendants’
assertion at the August 5, 2019 status conference that their contract-based claims,

which must be brought in the Court of Federal Claims, are similar to their original

transferred contract claims only supports this conclusion. As this Court ruled in

2005, it lacks jurisdiction over contract claims against the United States,
Docket No. 529 ¢ 1, meaning that the Defendants’ contract-based claims were

never properly a part of the action in this Court. The same is true of the

Defendants’ yet-to-be filed contract claims.

Certainly, Defendants are entitled to seek reimbursement in the Court of

Federal Claims for the response costs they pay to the Plaintiffs. But, to the extent

that Defendants are entitled to indemnification of the response costs owed to the

6 ;
Memorandum in Support of Motion to Lift Stay (CV 91-00589 (CIC))

 
Case 2:91-cv-00589-CJC Document 663-1 Filed 08/30/19 Page 7 of12 Page ID #:523

oO

10
1]
12
13
14
15
16
17
18
19
20
21.
22
23
24
25
26
27
28

oOo “A UN

 

Plaintiffs, such indemnification does not usurp the Plaintiffs’ claims against them.
CERCLA Section 107(e)(1), 42 U.S.C. § 9607(e)(1), provides:

No indemnification, hold harmless, or similar agreement

or conveyance shall be effective to transfer from the owner

or operator of any vessel or facility or from any person who

may be liable for a release or threat of release under this

section, to any other person the liability imposed under this

section.

Accordingly, this Court should lift the 2007 stay and allow the Plaintiffs to
proceed with their CERCLA response cost claims as intended by the statute, the
1994 Consent Decree, and the 1999 Stipulated Final Judgement. As this Court
ruled in 1993, the Defendants will not be unduly prejudiced since they will be
reimbursed for costs paid to the Superfund and the State that are properly
attributable to another party, even if that party is the federal government.

841 F. Supp. at 975.
B. There is No Continuing Justification for the Stay

Defendants further argue that maintaining the stay, pending resolution of
their contract claims, wil] forestall unnecessary litigation of the Plaintiffs’ response
cost claims, Again, the Defendants are wrong. Their position assumes that if the
Defendants are successful on their contract claims, the United States can, and
should, reimburse itself for the CERCLA response costs at issue.

That, however, would take an act of Congress. The Appropriations Clause of
the Constitution prohibits shifting funds from one agency to another without a
specific statutory authorization. U.S. Const. art. I, § 9, cl. 7. Any reimbursement
that the Defendants obtain for their contract claims will come from the Judgment
Fund, which is entirely separate from the Superfund used to respond to the threat to

public health and the environment posed by hazardous waste sites around the

7
Memorandum in Support of Motion to Lift Stay (CV 91-00589 (CJC))

 
Case 2:91-cv-00589-CJC Document 663-1 Filed 08/30/19 Page 80f12 Page ID #:524

o 4 KN UN Bf

\O

10
Il
12

13 |

14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

country. 26 U.S.C. § 9507. One of the manners in which the Superfund is
replenished is from amounts recovered from liable parties such as the Defendants in
this case. Id. § 9507(b)(2).

As the Judgment Fund’s name implies, payments from it can only be triggered
by a judgment against the United States and certification from the Secretary of the
Treasury. See 41 U.S.C. § 7108 and 31 U.S.C. § 1304. The Defendants’ claim
submitted to the General Services Administration on July 29, 2019, includes a sum
certain for costs Defendants have incurred and vaguely references the Plaintiffs’
cost recovery claims without providing a dollar amount. (Exhibit 1, at 7, 8).

Indeed, the Defendants cannot provide a dollar amount for Plaintiffs’ response costs
until they have paid the Plaintiffs’ response costs, which continue to accrue interest.
Accordingly, a decision by the General Services Administration on Defendants’
July 29, 2019 claim will not resolve the costs the Plaintiffs have incurred and
continue to incur and the Defendants have not paid. Quite simply, the Defendants’
breach of contract claims can never resolve the Plaintiffs’ CERCLA claims in this
Court.

There are two possible outcomes at the Court of Federal Claims: the
Defendants are made whole for all CERCLA costs, including those paid to
reimburse the Governments’ response costs, or the recovery of the Defendants’
costs is offset or reduced due to complex legal arguments over which this Court
lacks jurisdiction. Regardless, the Plaintiffs’ CERCLA cost recovery claims will
need to be resolved by this Court.

Even assuming arguendo that the United States could reimburse EPA’s
Superfund from the Judgment Fund, the Court of Federal Claims contract litigation
cannot resolve the State of California’s response cost claims against the
Defendants. This is because, at most, the contracts at issue in the Court of Federal

Claims would require the United States to indemnify the Defendants for any

8

 

 

Memorandum in Support of Motion to Lift Stay (CV 91-00589 (CIC))

 
Case 2:91-cv-00589-CJC Document 663-1 Filed 08/30/19 Page 9of12 Page ID #:525

1 | CERCLA response cost payments to California. Those contracts do not require the
2 | United States to defend the Defendants against California in this case.

3 | Accordingly, even if the Defendants ultimately succeed on their contract claims

4 | against the United States, California’s response cost claims would remain
5 | unresolved in this court.

6 For the foregoing reasons, the Governments’ claims for reimbursement of

7 || response costs in this Court should not be allowed to languish while the Defendants
8 | again litigate their breach of contract claims in the Court of Federal Claims. All

9 || that would be achieved is further delay in resolving the Plaintiffs’ decades-old

10 | response cost claims against the Defendants.

11 | ///
12 | ///
13 | //
14 | //
1S | ///
16 | ///
17 | ///
18 | //
19 | //
20 | //
21} //
22 | f/f
23 | //
24 | ///
25 | /f
26 | ///
27 | fi
28

9

 

Memorandum in Support of Motion to Lift Stay (CV 91-00589 (CIC))

 

 
Case 2:91-cv-00589-CJC Document 663-1 Filed 08/30/19 Page 10 0f12 Page ID #:526

eo

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

co SN UM

CONCLUSION

The Plaintiffs request that the Court lift the stay so that the Plaintiffs can file

motions to recover their response costs. The Plaintiffs appreciate the Court’s desire

to move the case forward and will work swiftly to accommodate a speedy

resolution.

Respectfully submitted,

Plaintiff United States of America

/s/ William A. Weinischke

William A. Weinischke

Senior Attorney

Environmental Enforcement Section

Environment and Natural Resources
Division :

United States Department of Justice

(202) 514-4592,

Bill. weinischke@usdoj.gov

Plaintiff State of California

/s/Sparsh Khandeshi

Sparsh Khandeshi

Deputy Attorney General
California Department of Justice
(619) 738-9061
sparsh.khandeshi@doj.ca.gov

10.

 

 

Memorandum in Support of Motion to Lift Stay (CV 91-00589 (CIC))

 
Case 2:91-cv-00589-CJC Document 663-1 Filed 08/30/19 Page 11o0f12 Page ID #:527

CERTIFICATE OF SERVICE
Case Name: USA, et al., v. Shell Oil No. CV 91-00589 VAP
Company, et al.

 

 

I hereby cértify that on August 30, 2019, I electronically filed the following documents with the
Clerk of the Coirrt by using the CM/ECF system:

MEMORANDUM IN SUPPORT OF MOTION TO LIFT STAY
‘
Participants in the case who are registered CM/ECF users will be served by the CM/ECF system.

I am employed in the Office of the Attorney General, which is the office of a member of the
California State Bar at which member's direction this service is made. I am 18 years of age or
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is deposited with the United States
Postal Service with postage thereon fully prepaid that same day in the ordinary course of
business.

1 further certify that some of the participants in the case are not registered CM/ECF users. On
August 30, 2019, I have caused to be mailed in the Office of the Attomey General's internal mail
system, the foregoing document(s) by First-Class Mail, postage prepaid, or have dispatched it to
a third party commercial carrier for delivery within three (3) calendar days to the following non-
CM/ECF participants:

 

 

 

Kermit David Marsh Jeffrey Zeddock B, Springer

Beam Brobeck West Borges & Rosa LLP | Demetriou, Del Guercio, Springer, & Francis, LLP |
1301 Dove Street, Suite 700 915 Wilshire Blvd., Ste, 2000
Newport Beach, CA 92660 Los Angeles, CA 90017-3496
Attorney for Deft. McAuley LCX Attorney for Deft. McAuley LCX Corporation
Corporation

Peter R. Taft Richard B. Stewart

Munger Tolles & Olson LLP U.S. Department of Justice

355 S. Grand Ave., 35" FL Environment Enforcement Section

Los Angeles, CA 90071-1560 301 Howard, Ste. 870

Attorney for Deft. Texaco, Inc. San Francisca, Ca 91405

; Attorney for Plaintiff USA

Sang Min Lee

11005 Marcliff Rd.

Rockville, MD 20852

Attorney for Deft.

Atlantic Richfield Company

 

 

 

 
Case 2:91-cv-00589-CJC Document 663-1 Filed 08/30/19 Page 12 0f12 Page ID #:528

I declare under penalty of perjury under the laws of the State of California the foregoing is true
and correct and that this declaration was executed on August 30, 2019, at San Diego, California.

C. Sheppard
Declarant enatute

 

$D2019500473
71970296.docx
